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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF RHODE ISLAND


 MAYRA F. PENA,                                 :
      PLAINTIFF                                 :
                                                :
                                                :
                 V.                             :              C.A. NO. 15-CV-00179-WES-LDA
                                                :
                                                :
 HONEYWELL INTERNATIONAL INC.,                  :
      DEFENDANT.                                :
                                                :


        PLAINTIFF MAYRA PENA’S OBJECTION TO MAGISTRATE JUDGE LINCOLN D. ALMOND’S
        SEPTEMBER 22, 2017 REPORT AND RECOMMENDATION ON DEFENDANT HONEYWELL
             INTERNATIONAL, INC.’S MOTION FOR SUMMARY JUDGMENT (DOC. NO. 42)

          Now comes Mayra Pena, the plaintiff in the above-entitled matter, pursuant to Rule 72(b) of

 the Federal Rules of Civil Procedure and L.R. cv 72(d) of the Local Rules of the United States

 District Court for the District of Rhode Island, by and through her attorney, and hereby objects to

 Magistrate Judge Lincoln D. Almond’s September 22, 2017 Report and Recommendation on

 Defendant Honeywell International, Inc.’s Motion for Summary Judgment (the “R & R”) (Doc. No.

 42).

          As grounds for her objection, Plaintiff relies on her Memorandum of Law filed herewith and

 incorporated by reference herein.

                                              MAYRA PENA
                                              By Her Attorney,
                                              /s/Mark P. Gagliardi____
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 Dated: October 6, 2017
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                                     CERTIFICATE OF SERVICE
         I hereby certify that on this 6th day of October 2017, I caused the foregoing document to be
 electronically filed with the Court’s CM/ECF system. The following counsel-of-record have been
 served by electronic means.

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